Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 1 of 9 Page ID #:64

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   5
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   6

   7

   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10   CHRIS PRINCIPE,                                Case No: 8:17-cv-00608
  11                       Plaintiff,
                                                      DEFENDANT TIMOTHY GLEN
  12         vs.                                      CURRY’S ANSWER TO
  13   TIMOTHY GLEN CURRY A/K/A                       PLAINTIFF’S COMPLAINT
       TIMOTHY TAYSHUN,
  14
                         Defendant.
  15

  16

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  20         Defendant Timothy Glen Curry (hereinafter, “Defendant” or “Curry”)
  21   hereby answers Plaintiff Chris Principe’s Complaint as follows:
  22                                        PARTIES
  23         1.     Admitted.
  24         2.     Admitted.
  25

  26                              JURSDICTION AND VENUE
  27         3.     Defendant denies the allegations of substance contained in paragraph
  28   3 of the Complaint, except to admit that such allegations purport to state that this
       Court has original jurisdiction.           1
                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 2 of 9 Page ID #:65

   1          4.      Defendant denies the allegations of substance contained in paragraph
   2   4 of the Complaint, except to admit that such allegations purport to state that this
   3   Court has supplemental jurisdiction.
   4          5.      Defendant denies the allegations of substance contained in paragraph
   5   5 of the Complaint, except to admit that such allegations purport to state that this
   6   Court has personal jurisdiction over Defendant.
   7          6.      Defendant denies the allegations of substance contained in paragraph
   8   6 of the Complaint, except to admit that such allegations purport to state that venue
   9   is proper in this district.
  10                     PLAINTIFF’S BUSINESS AND REPUTATION
  11          7.      Defendant lacks knowledge or information sufficient to form a belief
  12   about the truth of the allegations in paragraph 7 of the Complaint, and on that basis
  13   denies them.
  14          8.      Admitted.
  15          9.      Admitted.
  16          10.     Admitted.
  17          11.     Defendant lacks knowledge or information sufficient to form a belief
  18   about the truth of the allegations in paragraph 11 of the Complaint, and on that
  19   basis denies them.
  20          12.     Defendant lacks knowledge or information sufficient to form a belief
  21   about the truth of the allegations in paragraph 12 of the Complaint, and on that
  22   basis denies them.
  23          13.     Defendant lacks knowledge or information sufficient to form a belief
  24   about the truth of the allegations in paragraph 13 of the Complaint, and on that
  25   basis denies them.
  26          14.     Defendant lacks knowledge or information sufficient to form a belief
  27   about the truth of the allegations in paragraph 14 of the Complaint, and on that
  28   basis denies them.
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                       DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 3 of 9 Page ID #:66

   1         15.    Defendant lacks knowledge or information sufficient to form a belief
   2   about the truth of the allegations in paragraph 15 of the Complaint, and on that
   3   basis denies them.
   4         16.    Denied.
   5         17.    Defendant lacks knowledge or information sufficient to form a belief
   6   about the truth of the allegations in paragraph 17 of the Complaint, and on that
   7   basis denies them.
   8                             DEFENDANT’S BUSINESS
   9         18.    Denied.
  10         19.    Admit that Defendant has Kiosks, but denies they are in furtherance
  11   “of his investment in the BitCoin cryptocurrency.”
  12         20.    Denied.
  13         21.    Admitted.
  14         22.    Admitted.
  15         23.    Admitted.
  16                             FACTUAL BASIS FOR COMPLAINT
  17         24.    Deny that OneCoin is a cryptocurrency or competitor to BitCoin.
  18         25.    Defendant lacks knowledge or information sufficient to form a belief
  19   about the truth of the allegations in paragraph 25 of the Complaint, and on that
  20   basis denies them.
  21         26.    Admitted.
  22         27.    Defendant lacks knowledge or information sufficient to form a belief
  23   about the truth of the allegations in paragraph 27 of the Complaint, and on that
  24   basis denies them.
  25         28.    Defendant lacks knowledge or information sufficient to form a belief
  26   about the truth of the allegations in paragraph 28 of the Complaint, and on that
  27   basis denies them.
  28         29.    Denied.
                                                 3
                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 4 of 9 Page ID #:67

   1         30.    Admitted.
   2         31.    Denied.
   3         32.    Denied.
   4         33.    Denied.
   5         34.    Admitted.
   6         35.    Admitted.
   7         36.    Admitted.
   8         37.    Admitted.
   9         38.    Admitted.
  10         39.    Admitted.
  11         40.    Admitted.
  12         41.    Admitted.
  13         42.    Admitted.
  14         43.    Admitted.
  15         44.    Defendant lacks knowledge or information sufficient to form a belief
  16   about the truth of the allegations in paragraph 44 of the Complaint, and on that
  17   basis denies them.
  18         45.    Defendant lacks knowledge or information sufficient to form a belief
  19   about the truth of the allegations in paragraph 45 of the Complaint, and on that
  20   basis denies them.
  21         46.    Defendant lacks knowledge or information sufficient to form a belief
  22   about the truth of the allegations in paragraph 46 of the Complaint, and on that
  23   basis denies them.
  24         47.    Defendant lacks knowledge or information sufficient to form a belief
  25   about the truth of the allegations in paragraph 47 of the Complaint, and on that
  26   basis denies them.
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                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 5 of 9 Page ID #:68

   1         48.    Defendant lacks knowledge or information sufficient to form a belief
   2   about the truth of the allegations in paragraph 48 of the Complaint, and on that
   3   basis denies them.
   4         49.    Denied.
   5         50.    Defendant lacks knowledge or information sufficient to form a belief
   6   about the truth of the allegations in paragraph 50 of the Complaint, and on that
   7   basis denies them.
   8         51.    Denied.
   9                                 First Cause of Action
  10                                        (Defamation)
  11         52.    No response required.
  12         53.    Admit.
  13         54.    Denied.
  14         55.    Denied.
  15         56.    Denied.
  16         57.    Denied.
  17         58.    Denied.
  18         59.    Denied.
  19         60.    Denied.
  20         61.    Denied.
  21         62.    Denied.
  22         63.    Denied.
  23         64.    Denied.
  24         65.    Denied.
  25         66.    Denied.
  26         67.    Denied.
  27         68.    Denied.
  28

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                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 6 of 9 Page ID #:69

   1                                 Second Cause of Action
   2                     (Tortious Interference With Contractual Relations)
   3          69.    No response required.
   4          70.    Denied.
   5          71.    Denied.
   6          72.    Denied.
   7          73.    Denied.
   8          74.    Denied.
   9          75.    Denied.
  10          76.    Denied.
  11          77.    Denied.
  12          78.    Defendant denies each and every allegation in the complaint that has
  13   not been specifically admitted above and demands strict proof thereof with respect
  14   to all allegations.
  15

  16                              AFFIRMATIVE DEFENSES
  17                           FIRST AFFIRMATIVE DEFENSE
  18                                (Failure to State a Claim)
  19          79.    As and for a first affirmative defense to the Complaint, and each and
  20   every allegation contained therein, Defendant asserts that the Complaint does not
  21   state a claim upon which relief can be granted.
  22

  23                           SECOND AFFIRMATIVE DEFENSE
  24                                          (Truth)
  25          80.    Defendant affirmatively asserts that all statements and comments by
  26   Defendant regarding Plaintiff were true.
  27

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                      DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 7 of 9 Page ID #:70

   1                          THIRD AFFIRMATIVE DEFENSE
   2                                    (Protected Speech)
   3         81.    All statement and comments made by Defendant about Plaintiff were
   4   reasonably understood by the audience to be opinions or rhetorical hyperbole
   5   and/or are otherwise protected under California law, Florida law, and the First
   6   Amendment of the United States.
   7

   8                        FOURTH AFFIRMATIVE DEFENSE
   9                                (Good Motive-Fair Comment)
  10         82.    All statements and comments made by Defendant about Plaintiff were
  11
       made by the Defendant with good motive and were fair comments made as a
  12

  13   private citizen exercising his right to free speech, discussing matter of public

  14   importance, as a concerned citizen of the community.
  15

  16
                              FIFTH AFFIRMATIVE DEFENSE
  17
                                 (No Provably False Assertions)
  18
             83.           Defendant asserts that he made no provably false statements in
  19
       his statements and comments.
  20

  21
                              SIXTH AFFIRMATIVE DEFENSE
  22
                                            (Privilege)
  23
             84.    The matters addressed by Defendant regarding Plaintiff concern
  24
       matters which affect the interest of the general public. They were made in good
  25
       faith with the proper motive of informing the public of issues concerning
  26
       Defendant and OneCoin. Defendant’s statements are protected by both qualified
  27
       and conditional privilege.
  28

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                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 8 of 9 Page ID #:71

   1                        SEVENTH AFFIRMATIVE DEFENSE
   2                                      (Public Figure)
   3         85.    Plaintiff is either a “general public figure” or “limited public figure,”
   4   and as such, cannot meet the heightened burden of proof to sustain a defamation
   5   cause of action.
   6

   7                         EIGHTH AFFIRMATIVE DEFENSE
   8                                     (Lack of Malice)
   9         86.    All the statements and comments made by Defendant regarding
  10   Plaintiff were made: a) without actual or express malice; b) in good faith, with the
  11   belief that the statements and comments were accurate; and c) without either
  12   knowledge of any falsity or reckless disregard for the truth.
  13

  14                          NINTH AFFIRMATIVE DEFENSE
  15                                   (Substantial Truth)
  16         87.    Plaintiff’s claim is barred by the substantial truth doctrine.
  17

  18                         TENTH AFFIRMATIVE DEFENSE
  19                       (Lack of Damage Caused by Defendant)
  20         88.    No act or omission on the part of Defendant either caused or
  21   contributed to whatever injury (if any) the Plaintiff may have sustained.
  22

  23                      ELEVENTH AFFIRMATIVE DEFENSE
  24                             (Failure to Mitigate Damages)
  25         89.    Plaintiff has failed to mitigate his damages, if any.
  26

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                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
Case 8:17-cv-00608-JLS-KES Document 14 Filed 08/03/17 Page 9 of 9 Page ID #:72

   1                       TWELFTH AFFIRMATIVE DEFENSE
   2                                    (Unclean Hands)
   3         90.    Plaintiff’s own wrongful conduct bars recovery in this matter,
   4   therefore, Plaintiff’s claims are precluded.
   5

   6                     THIRTEENTH AFFIRMATIVE DEFENSE
   7                                    (Justification)
   8         91.    Defendant’s statements and comments were justified, therefore
   9   Plaintiff’s claims cannot be sustained.
  10

  11                     FOURTEENTH AFFIRMATIVE DEFENSE
  12                            (Punitive Damages Unsupported)
  13         92.    Since none of Defendant’s comments and statements were done with
  14   express or actual malice, nor was there intent to interfere with any business
  15   relation, Plaintiff cannot recover punitive damages.
  16

  17   WHEREFORE, Defendant prays for judgment as follows:
  18         1.     That Plaintiff take nothing by reason of his Complaint;
  19         2.     For costs of suit incurred herein;
  20         3.     For reasonable attorneys’ fees; and
  21         4.     For such other and further relief as the court deems just and proper.
  22

  23
       DATED: August 3, 2017            LAW OFFICE OF DANIEL A. DE SOTO
  24

  25

  26                                    By     /s/ Daniel A. De Soto
                                             Daniel A. De Soto
  27                                         Attorney for Defendant Timothy Glen Curry
  28

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                     DEFENDANT TIMOTHY GLEN CURRY’S ANSWER TO COMPLAINT
